Case 1:13-cv-01432-RA-KNF Document 139-7 Filed 12/29/15 Page 1 of 3




                     Exhibit G
                      REDACTED
       Case 1:13-cv-01432-RA-KNF Document 139-7 Filed 12/29/15 Page 2 of 3




From:                                Kush Bambrah
Sent:                                Monday, August 13, 2012 6:38 PM
To:
Subject:                             FW: Providus: Project Client Interviews Tuesday August 14th PLEASE RESPOND ASAP

Importance:                          High




PLEASE CONFIRM IMMEDIATELY.

Your Interview is scheduled for Tuesday at 1 August 14th, with Quinn Emmanuel. Please arrive at the building least 15
minutes beforehand as there are sometimes lines at the security desk. The interview will last 15 minutes. However
                                                                                                                   ,do
NOT GO UP to the Quinn offices until 5 -10 minutes before your interview as they do not want for there to be a mash of
people waiting in their lobby.

You will be meeting with Quinn Emmanuel attorney Ken Tanzer.

Attire is business casual.

Please bring a copy of your resume with you.

The location of the interview is:

51 Madison Ave (Across from Madison Square Park. You can enter from either the Madison Ave OR Park Ave
side. Either way head towards the CENTER receptionist).
New York, New York 10010

At the receptionist in the main lobby of the building, let them know the name of your interviewer and you will be sent to
the 22nd floor.

As note, the subject matter of the review is                             and any knowledge or experience that you can
demonstrate will be appreciated. With this team, an interest, a willingness to learn if need be, to be committed and to
positive are just as, if not more important than subject matter knowledge.

If for any reason you are running late, please give me a call at

All the best, I'm sure you will do great!!


To RECAP, the parameters of the project are:
Duration: 2 months or so, could be less, could be more
Location: 25th and Broadway, Madison Square Park
Rate: $35 flat across all hours
Hours: 57 min /60 max per week
OT: flat rate over 40h rs /week
Bar: Active any state
Hours: Mon -Fri 8 :45a to 10p, Saturday available, but not required if you meet you max from 9a to 5p.


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      Case 1:13-cv-01432-RA-KNF Document 139-7 Filed 12/29/15 Page 3 of 3




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